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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE


ROBERT W. CLOUGH, II., individually           )
and on behalf of a class of all persons and   )
entities similarly situated,                  )      Case No. 1:17-cv-00411-PB
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )
                                              )
REVENUE FRONTIER, LLC, SUPREME                )
DATA CONNECTIONS, LLC and                     )
WILLIAM ADOMANIS,                             )

               Defendants.




         PLAINTIFF’S MOTION FOR FINAL APPROVAL OF CLASS
  ACTION SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT
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I.     INTRODUCTION

       Plaintiff Robert W. Clough, II (“Plaintiff”) on behalf of himself and all Settlement Class

Members moves for final approval of his settlement with defendants Revenue Frontier, LLC

(“Revenue Frontier”), Supreme Data Connections, LLC (“Supreme Data”), and William

Adomanis (“Adomanis”) (collectively “Defendants”); and W4, LLC (“W4”) in this class action

brought under the Telephone Consumer Protection Act. Plaintiff additionally asks that his

separately filed Motion for Attorneys’ Fees, Expenses and an Incentive Award [ECF 128] be

granted. 1 Plaintiff, Defendants and W4 are referred to collectively in this Settlement Agreement

as the “Parties.” 2 The Settlement includes the establishment of an $2,100,000 Settlement Fund to

be distributed to Settlement Class Members without the need to file claim forms, and to cover

Plaintiff’s Counsel fees and costs, and an incentive award to the Plaintiff. 3 There is no reverter to

the Defendants of any portion of the Settlement Fund.

       The Notice Plan approved by the Court has been implemented by the parties and the Court-

approved Settlement Administrator, AB Data, Ltd. The Postcard Notice was successfully delivered

to in excess of 83% of the Settlement Class Members. The reaction of the Settlement Class has

been positive. There are no objections to the Settlement, nor was there a single opt out. In addition,

following direct notice under Class Action Fairness Act to each state attorney general’s office, no

state attorney general, nor the Attorney General of the United States, has objected.



1
 By Endorsed Order dated June 25, 2020, the Court deferred ruling on Plaintiff’s Motion for
Attorneys’ Fees until after the Final Approval Hearing, set for September 9, 2020 at 2:00 p.m.
2
 The Defendants and W4 do not oppose this motion insofar as they support the settlement. The
Defendants and W4 do not concede or admit Plaintiff’s assertions.
3
 All capitalized terms not defined herein have the meanings set forth in the Parties’ Class Action
Settlement Agreement (“Settlement” or “Agreement”), filed with the Court as ECF 125-1.
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        As is reflected in the Declaration of Eric Nordskog Re: Notice Procedures submitted

herewith as Exhibit 1, assuming deductions are approved from the $2,100,000 Settlement Fund for

(a) attorneys’ fees ($700,000.00); (b) attorneys’ costs ($50,894.49); (c) named plaintiff award

($25,000.00); and (d) administration costs ($83,000.00) the distribution on a pro rata basis to

eligible Settlement Class Members is estimated to be $78.88. Declaration of Eric Nordskog ¶ 15.

As is set forth below, this payout compares favorably with other settlements under the Telephone

Consumer Protection Act (“TCPA”). Plaintiff respectfully submits that the relief provided meets

the applicable standards of fairness when taking into consideration the nature of Plaintiff’s claims

and the risks inherent in class litigation. Plaintiff respectfully requests that the Court grant final

approval of the Settlement.

II.     NATURE AND BACKGROUND OF THE CASE

        This case rests on alleged violations of the Telephone Consumer Protection Act (“TCPA”),

47 U.S.C. § 227, which prohibits, inter alia, initiating any telephone solicitation to a cell phone

using an ATDS or an artificial or prerecorded voice without prior express consent. See 47 U.S.C.

§ 227(b). The TCPA’s prohibition against auto dialed calls applies to both voice calls and text

messages. See Murphy v. DCI Biologicals Orlando, LLC, 797 F.3d 1302, 1305 (11th Cir. 2015)

(citing In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC

Rcd. 14014, 14115 ¶ 165 (2003)). The TCPA provides a private cause of action to persons who

receive such calls or texts. Id.

        Plaintiff is an individual residing in New Hampshire whose cellular telephone number has

been called with unsolicited messages for years. On September 13, 2017, Plaintiff filed a lawsuit

against Revenue Frontier and National Tax Experts, LLC in the United States District Court for

the District of New Hampshire, Case No. 1:17-cv-00411-PB. On December 1, 2017, Plaintiff filed

a First Amended Class Action Complaint dropping National Tax Experts, LLC as a defendant and


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adding U.E.G. Incorporated, Supreme Data and Adomanis as defendants (ECF 18). 4 Plaintiff

alleged that Defendants violated the TCPA, 47 U.S.C. § 227, by causing unsolicited text messages

to be sent to the cellular telephone numbers of Plaintiff and others using an automatic telephone

dialing system. Plaintiff further alleged that Revenue Frontier is vicariously liable for those text

messages.

       On May 2, 2018, Revenue Frontier filed a cross-claim against Supreme Data and

Adomanis, and a counterclaim against Plaintiff (ECF 69). On June 22, 2018, Revenue Frontier

filed an Amended Counterclaim against Plaintiff (ECF 78). On September 26, 2018, the Court

granted Plaintiff’s motion to dismiss Revenue Frontier’s counterclaim and dismissed said

counterclaim without prejudice (September 26, 2018 Minute Entry and Oral Order).

       On January 9, 2019, Plaintiff filed a Revised Second Amended Class Action Complaint

against Revenue Frontier, Supreme Data, and Adomanis (ECF 88). On March 5, 2019, Plaintiff,

on behalf of himself and the class he sought to represent and certify, demanded payment from

Revenue Frontier, Revenue Frontier’s insurance carrier (AXA Insurance Company), and W4 for

the TCPA claims alleged in the Litigation.

       On June 19, 2019, the Court, over Revenue Frontier’s objection, granted Plaintiff’s motion

for class certification, and certified the following class (which is identical to the Settlement Class):

       (1) All persons in the United States who are the users or subscribers of the approximately
       18,937 cellular telephones identified in Anya Verkovshkaya’s report (2) to which cellular
       telephone numbers a text message was sent (3) using the SDC Messaging Application,
       employing the Sendroid software (4) within four years of the filing of the complaint.

(ECF 115).




4
  Plaintiff subsequently voluntarily dismissed U.E.G. Incorporated as a defendant without
prejudice due to an inability to serve process (ECF 74).



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       This case has been actively litigated. Plaintiff’s claims survived Revenue Frontier’s motion

to dismiss, and the parties engaged in discovery and expert discovery, taking multiple depositions,

and litigated class certification challenges.

       This Settlement was achieved over the course of three mediations, complicated by

contributions from multiple parties and insurers. Declaration of Edward Broderick ¶ 7 (Exhibit 2

submitted herewith). On July 24, 2019, the Parties engaged in a day-long, in-person mediation

session with Peter K. Rosen, Esq., a mediator with JAMS ADR in Los Angeles, California, but

were unable to reach a settlement. Id. The Parties, however, agreed to a second mediation to allow

further assessment by Revenue Frontier’s insurer and W4’s insurers. Id. ¶ 8.

       On September 5, 2019 the Parties engaged in a second mediation, again with Mr. Rosen,

in New York City. The Parties made some progress but did not reach a settlement. The Parties

thereafter continued to negotiate through counsel, and agreed to a third mediation between the

Parties, and the insurers of Revenue Frontier and W4. That third mediation was held on October

16, 2019, again with Mr. Rosen, between the Parties and insurers. At this third mediation, a

settlement in principle was reached. Id.

       Defendants and W4 always denied liability and continue to do so. Id. ¶ 9. Defendants and

W4 maintain that they have substantial factual and legal defenses to all claims and class allegations

in the Litigation. Id. Defendants and W4 specifically deny that any automated dialers were used

to text or call Plaintiff or class members without their prior express written consent; that they

violated the TCPA; and that Plaintiff and class members are entitled to any relief. Id. Defendants

and W4 further contend that the allegations contained in the Revised Second Amended Complaint

are not amenable to class certification. Revenue Frontier expressly denies that it is vicariously

liable for any alleged conduct by the other Defendants and W4. Id. Nevertheless, without




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admitting any liability or wrongdoing whatsoever, Defendants and W4 agreed to the terms of the

Settlement solely to avoid the further expense, inconvenience, and distraction of burdensome and

protracted litigation and to resolve all issues relating to the subject matter of the Released Claims

(as defined in the Settlement) in the Litigation.

III.   THE PROPOSED SETTLEMENT

       The proposed Settlement establishes a non-reversionary $2,100,000.00 Settlement Fund,

which will exclusively be used to pay: (1) cash settlement awards to Settlement Class Members;

(2) Settlement Administration Expenses; (3) court-approved attorney’s fees of one-third of the

total amount of the Settlement Fund, in addition to out of pocket expenses; and (4) a court-

approved incentive award to the Class Representative of up to $25,000. (Agreement ¶2.23 and

¶16.3). Each of the 15,733 Settlement Class Members with a known address, if all Settlement

Administrative Expenses, Incentive Awards, and Fee awards are approved by the Court and paid

out of the Settlement Fund, will received an estimated pro rata payment of approximately $78.88.

Declaration of Eric Nordskog ¶ 15.

       A.      Settlement Administration.

       On February 19, 2019, after the Parties complied with the Court’s order directing the

parties to meet and confer and agree on a proposed administrator, to set forth the proposed

administrator’s qualifications and to agree on a schedule (filed at ECF 126), this Court granted

preliminary approval to the settlement. (ECF. 127). As part of the Court’s order, AB Data, Ltd.

(“AB Data”) was appointed as the Settlement Administrator. AB Data took the list of 18,938 lines

of non-deduped data which included phone numbers of potential Settlement Class Members (the

“Class List”) from the Expert Report of Plaintiff’s Expert, Anya Verkhovskaya. Declaration of

Eric Nordskog ¶ 4. A.B. Data facilitated, through a third-party information provider, reverse

directory searches of the 18,938 telephone numbers on the Class List, which provided names and


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addresses for 16,977 records. A.B. Data then created a list of the 16,977 unique names and mailing

addresses of Class Members (the “Mailing List”). Id. ¶ 5. A.B. Data then processed the Mailing

List through the United States Postal Service’s (“USPS”) National Change of Address Database

(“NCOA”) to standardize the format of the addresses and to update the mailing addresses with any

moves registered with the USPS. Id. ¶ 6.

       On May 11, 2020, A.B. Data caused the Court-approved mailed Settlement Notice (“Mail

Notice”) to be printed and mailed to the 16,977 names and mailing addresses on the Mailing List.

A true and correct copy of the Mail Notice is attached to Mr. Nordskog’s Declaration as Exhibit

C. Id. ¶ 7. Since sending the Mail Notices to the Settlement Class Members, A.B. Data has received

2,159 Mail Notices returned by the USPS with undeliverable addresses. Through credit-bureau

and/or other public-source databases, A.B. Data performed address searches for these

undeliverable Mail Notices and was able to find updated addresses for 1,076 Settlement Class

Members. Following the remailing of Mail Notices, 161 were returned once again as

undeliverable. Id. ¶ 8. Altogether, individual notice was successfully sent to 15,733 Settlement

Class Members (in excess of 83%) without a returned notice being received. There are 3,205

Settlement Class Members (less than 17%) for whom new mailing addresses have not been found.

Id. ¶ 9. AB Data additionally established a class action website and set up a toll-free number to

answer class inquiries that received or returned 229 calls. Id. ¶¶ 10-11.

       Claim Forms were only required to be submitted by Settlement Class Members whose

names were not on the Class List and thus were not mailed a Notice. The deadline for Settlement

Class Members to submit a Claim Form was August 10, 2020. A.B. Data received a total of 33

claims. These 33 Claim Forms submitted are not eligible for a Cash Award, as 6 of the claims were

unnecessarily submitted by Settlement Class Members on the Class List who were successfully




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mailed a Notice, and the other 27 claims did not include a phone number that matched a phone

number on the Class List. Id. ¶ 12.

         B.     Response of the Class.

         There are no objections to this Settlement, and none of the Settlement Class Members opted

out. A court may appropriately infer that a class settlement is fair, reasonable, and adequate when

few (or no) class members object to it. See Tadepalli v. Uber Techs., Inc., No. 15-CV-04348-MEJ,

2016 WL 1622881, at *8 (N.D. Cal. Apr. 25, 2016) (observing that “the absence of a large number

of objections to a proposed class action settlement raises a strong presumption that the terms of a

proposed class settlement action are favorable to the class members” (citation omitted)).

IV.      THE SETTLEMENT MEETS ALL REQUIREMENTS FOR FINAL APPROVAL

         Under Fed. R. Civ. P. 23(e), a class action settlement agreement requires the court’s

approval. “A district court can approve a class action settlement only if it is fair, adequate and

reasonable.” City P’shp. Co. v. Atlantic Acquisition, 100 F.3d 1041, 1043 (1st Cir. 1996) (quoting

Durrett v. Housing Auth. of City of Providence, 896 F.2d 600, 604 (1st Cir. 1990)). In considering

final approval of a class action settlement, courts in the First Circuit consider the following list of

factors in deciding whether to approve a settlement; (1) the complexity, expense and likely

duration of the litigation; (2) the reaction of the class to the settlement; (3) the stage of the

proceedings and the amount of discovery completed; (4) the risks of establishing liability; (5) the

risks of establishing damages; (6) the risks of maintaining a class action through the trial; (7) the

ability of the defendants to withstand a greater judgment; (8) the range of reasonableness of the

settlement fund in light of the best possible recovery; and (9) the range of reasonableness of the

settlement fund to a possible recovery in light of all the attendant risks of litigation. New England

Carpenters Health Benefits Fund v. First Databank, Inc., 602 F. Supp. 2d 277, 281 (D. Mass.

2009).


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        Similarly, Rule 23, as revised as of December 1, 2018, sets forth a list of overlapping points

a court must consider in determining whether a proposed class action settlement is fair, reasonable,

and adequate.” Snyder, 2019 U.S. Dist. LEXIS 80926, at * 14. These are:


                (A) the class representatives and class counsel have adequately
                represented the class; (B) the proposal was negotiated at arm’s
                length; (C) the relief provided for the class is adequate, taking into
                account: (i) the costs, risks, and delay of trial and appeal; (ii) the
                effectiveness of any proposed method of distributing relief to the
                class, including the method of processing class-member claims; (iii)
                the terms of any proposed award of attorney’s fees, including timing
                of payment; and (iv) any agreement required to be identified under
                Rule 23(e)(3); and (D) the proposal treats class members equitably
                relative to each other.

Fed. R. Civ. P. 23(e)(2). Those factors are satisfied here.

                A.    The Class Representatives and Class Counsel Have Adequately
                Represented the Class.

        In a class settlement context, a “presumption of fairness, adequacy, and reasonableness

may attach to a class settlement reached in arm’s-length negotiations between experienced, capable

counsel after meaningful discovery.” Am. Int'l Grp., Inc. v. ACE INA Holdings, Inc., Nos. 07-CV-

2898, 09-CV- 2026, 2012 U.S. Dist. LEXIS 25265, at * 39 (N.D. Ill. Feb. 28, 2012) (quoting Wal-

Mart Stores, Inc. v. Visa USA, Inc., 396 F.3d 96, 116 (2d Cir. 2005)). Previously, counsel for the

class have submitted to the Court for its review their qualifications and a detailed disclosure of the

course of this litigation through to final approval. In light of this history, counsel for the Plaintiff

had a complete picture of the case, and did everything possible to get the best possible result for

class members. On the basis of these efforts, the case was highly developed by class counsel, who

are? experienced, competent, qualified and able to conduct the litigation vigorously. Plaintiff and

his counsel believe that the Settlement is fair, reasonable, and adequate, and in the best interests

of the members of the class. Plaintiff also believes that the benefits of the Parties’ Settlement far



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outweigh the delay and considerable risk of proceeding to a contested class certification and trial.

               B.    The Settlement Was Negotiated at Arm’s-Length, and There
               Has Been No Fraud or Collusion.

       “A settlement reached after a supervised mediation receives a presumption of

reasonableness and the absence of collusion.” 2 McLaughlin on Class Actions, § 6:7 (8th ed.

2011). 5 This Settlement was negotiated at arm’s length by knowledgeable and experienced

counsel over the course of three mediations with Peter Rosen, Esq., a nationally recognized

mediator with particular experience in insurance coverage disputes, the first of which was in Los

Angeles, California, with two following in New York City. See Declaration of Edward A.

Broderick, attached as Exhibit 2 at ¶¶ 7-8. The nature of these mediation sessions, the experience

of counsel as longstanding class-action attorneys, the involvement of a skilled mediator and the

fair result reached are illustrative of the arm’s-length negotiations that lead to the Settlement

Agreement.

               C.      The Settlement Provides Substantial Relief for the Class.

       Rule 23(e)(2)(C) and (D) direct the Court to evaluate whether “the relief provided for the

class is adequate” and “the proposal treats class members equitably relative to each other.” The

relief this Settlement provides is meaningful and substantial relief, particularly given the facts and

circumstances of this case. Under the Settlement, all Settlement Class Members will be treated

equitably as each receives an identical pro rata distribution of the Settlement Fund.



5
  See also D’Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001) (“[A] mediator[ ] helps to
ensure that the proceedings were free of collusion and undue pressure.”); Johnson v. Brennan, No.
10-4712, 2011 WL 1872405, at *1 (S.D.N.Y. May 17, 2011) (The participation of an experienced
mediator “reinforces that the Settlement Agreement is non-collusive.”); Milliron v. T-Mobile USA,
Inc., No. 08-4149, 2009 WL 3345762, at *5 (D.N.J. Sept. 14, 2009) (“[T]he participation of an
independent mediator in settlement negotiation virtually insures that the negotiations were
conducted at arm’s length and without collusion between the parties.”).



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               D.    Diverse and Substantial Legal and Factual Risks Weigh in
               Favor of Settlement.

       The expense, complexity and duration of litigation are significant factors considered in

evaluating the reasonableness of a settlement. Here, litigating the case through trial would

undoubtedly be time-consuming and expensive. As with most class actions, this case is complex.

Absent settlement, litigation could likely continue for years before Plaintiff would see any

potential recovery. That a settlement would eliminate delay and expenses strongly militates in

favor of approval. See Milstein v. Huck, 600 F. Supp. 254, 267 (E.D.N.Y. 1984). Although Plaintiff

here believes that he would ultimately prevail on the merits at trial, success is far from assured. If

approved, the Settlement would bring a sure end to what would be contentious and costly litigation

with substantial risk. One of those risks focuses on the question of whether Supreme Data

Connections, LLC’s dialing system, which Plaintiff contends is a predictive dialer, is an

“Automatic Telephone Dialing System” under the TCPA. As an initial matter, on July 10, 2015,

the FCC released an omnibus declaratory ruling clarifying numerous relevant issues affecting the

TCPA, including the definition of an ATDS under the statute 6—which was overturned in part in

ACA Int’l v. FCC, 885 F.3d 687 (D.C. Cir. 2018). Following the D.C. Circuit’s decision in ACA

Int’l, courts have been split on what constitutes an ATDS under the TCPA.

       Currently, the Third, Seventh, and Eleventh Circuit Courts of Appeal require number

generation in order for technology to qualify as an ATDS. See Gadelhak v. AT&T Services, 950

F.3d 458 (7th Cir. 2020); Glasser v. Hilton Grand Vacations, Case No., 948 F.3d 1301 (11th Cir.

2020); Dominguez v. Yahoo, 894 F.3d 116 (3d Cir. 2018). The Second, Sixth and Ninth Circuit

Courts of Appeal, in contrast, have liberally construed the statutory text and do not require number



6
       See https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf.



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generation. Duran v. La Boom Disco, Inc., 955 F.3d 279 (2d Cir. 2020); Allan v. Pa. Higher Educ.

Assistance Agency, No. 19-2043, 2020 U.S. App. LEXIS 23935 (6th Cir. July 29, 2020); Marks v.

Crunch San Diego, LLC, 904 F.3d 1041 (9th Cir. 2018). Significantly raising the stakes in this

litigation, since this Court’s grant of preliminary approval in this case, the United States Supreme

Court granted certiorari in another TCPA case, Facebook, Inc. v. Duguid et al., No. 19-511 (cert.

granted July 9, 2020) to address a question at the heart of a nationwide circuit split: “Whether the

definition of [an automatic telephone dialing system] . . . encompasses any device that can ‘store’

and ‘automatically dial’ telephone numbers, even if the device does not ‘us[e] a random or

sequential number generator.’” Supreme Court Case No. 19-511, Jul. 9, 2020 Order Granting Cert.

       It is undisputed that the SDC Messaging Application using the Sendroid software used in

this case does not “create” or generate the telephone numbers to which it sends texts out of thin

air. Instead, it takes a list of telephone numbers and generates a sequence of phone numbers for

texts that is carried out when Defendant’s telemarketers execute a computer command to begin the

texting campaign. The dialer then sends those texts.

       If this Court (or the First Circuit Court of Appeals or the Supreme Court) were to adopt the

number generation definition of an ATDS, the Settlement Class would recover nothing. This

significant legal risk strongly supports final approval of the Settlement.

       In addition, at least some courts view awards of aggregate, statutory damages with

skepticism and reduce such awards — even after a plaintiff has prevailed on the merits — on due

process grounds. See, e.g., Aliano v. Joe Caputo & Sons – Algonquin, Inc., No. 09-910, 2011 WL

1706061, at *4 (N.D. Ill. May 5, 2011) (“[T]he Court cannot fathom how the minimum statutory

damages award for willful FACTA violations in this case — between $100 and $1,000 per

violation — would not violate Defendant’s due process rights …. Such an award, although




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authorized by statute, would be shocking, grossly excessive, and punitive in nature.”); but see

Phillips Randolph Enters., LLC v. Rice Fields, No. 06-4968, 2007 WL 129052, at *3 (N.D. Ill.

Jan. 11, 2007) (“Contrary to [defendant’s] implicit position, the Due Process clause of the 5th

Amendment does not impose upon Congress an obligation to make illegal behavior affordable,

particularly for multiple violations.”).

        Moreover, the narrative of the Defendants’ telemarketing compliance efforts could present

a case for reduction of any damages awarded after trial, and some courts have applied this principle

in the TCPA context. See Golan v. Veritas Entm’t, LLC, No. 4:14CV00069 ERW, 2017 U.S. Dist.

LEXIS 144501, at *6-9 (E.D. Mo. Sep. 7, 2017) (reducing the damages awarded in a TCPA class

action lawsuit to $10 a call; and citing three other cases reducing damages for TCPA violations).

        Aside from the litigation risks, defendants Adomanis and Supreme Data Connections, LLC

made clear that they were without the financial means to pay a full judgment had this matter

proceeded to trial and through appeal with a result favorable to the Plaintiff. The financial

condition of a Defendant is an important factor in evaluating the fairness of a proposed settlement.

See e.g. Krimes v. JPMorgan Chase Bank, N.A., No. 15-5087, 2017 U.S. Dist. LEXIS 79434 * 23-

25 (E.D. Pa. May 24, 2017) (recognizing financial inability of defendant to pay a larger judgment

as a relevant factor for consideration on preliminary approval of a class action settlement).

Revenue Frontier, although solvent, asserted its own defense that it could not be held vicariously

liable for the actions of third parties that it denied acted as its agents.

        By reaching this Settlement, the parties will avoid protracted litigation and will establish a

means for prompt resolution of Class Members’ claims. These avenues of relief provide a benefit

to Class Members. Given the alternative of long and complex litigation before this Court, the risks




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involved in such litigation, and the possibility of an appeal, the availability of prompt relief under

the Settlement is highly beneficial to the Class.

               E.    The Monetary Terms of this Proposed Settlement Compate
               Favorably with of Prior TCPA Class Action Settlements.

       As explained more fully in Section 5.1 of the Settlement, Revenue Frontier and W4 will

surrender funds available to each of them under their respective insurance policies to pay

$2,100,000 into a Settlement Fund. Class Members with known addresses will receive

approximately $78.88, an amount exceeding comparable settlements. 7 The Settlement provides

substantial relief to Class Members without delay, particularly in light of the above risks that Class

Members would face in litigation.

               F.     The Settlement is an Effective and Equitable Means of
               Distributing Relief to the Settlement Class.

       The Settlement treats each class member in precisely the same way. See Fed. R. Civ. P.

23(e)(2)(C) & (D) advisory committee’s note (identifying, among potential “[m]atters of concern,”

whether “the scope of the release may affect class members in different ways that bear on the

apportionment of relief”). Every class member with a known address will receive the exact same

relief, in return for the exact same release as to Defendants and W4. No one was favored,

disfavored, or otherwise treated differently from anyone else. Moreover, the overwhelmingly

positive reaction of class members to the Settlement and its relief supports the fundamental

equality and effectiveness of the Settlement. The distribution of relief is particularly simple in this

case as the vast majority of Settlement Class Members did not need to submit a claim in order to



7
  See, e.g., In re Capital One TCPA Litig., 80 F. Supp. 3d 781, 789 (N.D. Ill. 2015) (granting final
approval where each class member would be awarded $39.66); Kolinek v. Walgreen, Co., 311
F.R.D 483, 493–94 (N.D. Ill. 2015) (granting final approval where class members each stood to
receive $30).



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share in the distribution to the Settlement Class.

                 G.    The Terms of a Proposed Award of Attorneys’ Fees.

       The award of attorneys’ fees and timing of payment are addressed in Plaintiff’s Motion for

Attorneys’ Fees, Expenses and an Incentive Award, ECF 128. The Settlement Class Members,

Class Counsel and Plaintiff as the Class Representative are all aligned. Payment will only be made

once the Court enters a Final Approval Order and a Judgment, and the Settlement receives final

approval from the Court and the “Final Settlement Date” is reached. Settlement Agreement, ECF

125-1, ¶ 2.22.

                 H.    There is no Agreement that Would be Required to be Identified
                 under Rule 23(e)(3).

       Fed. R. Civ. P. 23(e)(2)(iv) requires parties seeking final approval to disclose to the Court

any “agreement required to be identified under Rule 23(e)(3).” The purpose of this provision is to

ensure that there is not a “side agreement” between the Parties outside the scope of the Settlement

for which approval is sought which could impact the adequacy of the settlement and relief secured.

See, e.g. Harvey v. Morgan Stanley Smith Barney LLC, No. 18-cv-02835-WHO, 2020 U.S. Dist.

LEXIS 37580, at *29 (N.D. Cal. Mar. 3, 2020). The parties have reached no such “side agreement.”

Exhibit 2 at ¶ 10.

                 I.    The Form and Manner of Notice Complied with Rule 23 and
                 Due Process.

       Notice is adequate if it is “reasonably calculated, under all the circumstances, to apprise

interested parties of the pendency of the action and afford them an opportunity to present their

objections.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 174 (1974), quoting, Mullane v. Central

Hanover Bank & Trust Co., 339 U.S. 306, 70 S.Ct. 652, 94 L.Ed. 865 (1950). Sending notice by

first class mail to class members identifiable by reasonable means is regularly deemed adequate

under Rule 23(c)(2). Reppert v. Marvin Lumber & Cedar Co., Inc., 359 F.3d 53, 56-57 (1st Cir.


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2004). In this case, direct mail notice was successfully delivered to over 83% of the class. See

Exhibit 1, Declaration of Eric Nordskog, ¶ 9. Such a percentage far exceeds established due

process requirements for class notice. See Federal Judicial Center, Judges’ Class Action Notice

and      Claims   Process    Checklist   and   Plain      Language   Guide   (2010),   available   at

https://goo.gl/KTo1gB (instructing that notice should have an effective “reach” to its target

audience of at least 70%.). In sum, the notice program in this case far exceeds the minimum due

process requirements.

                                           CONCLUSION

          Plaintiff respectfully submits that the settlement in this matter is an excellent result for

class members, and the response from class members suggests that they agree. Plaintiff

respectfully requests that the Court approve this unopposed request to approve the Settlement and

enter a final judgment and order. A proposed Final Approval Order and a separate Judgment

(previously attached to the Settlement Agreement as exhibits) are attached hereto as Exhibits 3

and 4.




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                                              Respectfully submitted for
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2020, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will automatically send notification to all attorneys of
record.

                                                   /s/ Edward A. Broderick
                                                       Edward A. Broderick




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